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 2   23564 Calabasas Road, Suite 104
     Calabasas, California 91302
 3   Voice and Fax: (888)822-4340
     Email: Lew@Landaunet.com
 4
     Attorney for Reorganized Debtor
 5

 6
                               UNITED STATES BANKRUPTCY COURT
 7
                                CENTRAL DISTRICT OF CALIFORNIA
 8
                                         LOS ANGELES DIVISION
 9

10
     In re                                             Case No.: 2:17-bk-22432 WB
11
     Point.360, a California corporation,              Chapter 11
12
                                                       DEBTOR’S POST-CONFIRMATION
13                         Debtor.                     STATUS REPORT

14                                                     Date:        October 17, 2019
                                                       Time:        10:00 a.m.
15                                                     Place:       Courtroom 1375; Judge Brand
                                                                    US Bankruptcy Court
16                                                                  255 E. Temple Street, 13th Floor
                                                                    Los Angeles, California 90012
17

18           Point.360, a California corporation and reorganized debtor (“Debtor”) hereby files the
19   Debtor’s post-confirmation status report pursuant to Local Bankruptcy Rule 3020-1(b)(1)-(5) and
20   the June 11, 2019 Order Confirming Debtor’s Second Amended Chapter 11 Plan as Modified
21   [ECF # 713] (“Confirmation Order”).
22   1. A schedule listing for each debt and each class of claims: the total amount required to be
        paid under the plan; the amount required to be paid as of the date of the report; the
23      amount actually paid as of the date of the report; and the deficiency, if any, in required
        payments.
24

25           The schedule required by LBR 3020-1(b)(1) is attached hereto as Exhibit 1 and

26   incorporated herein by reference.

27   ///

28   ///
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 1   2. A schedule of any and all postconfirmation tax liabilities that have accrued or come due
        and a detailed explanation of payments thereon.
 2
             Debtor is current on all post-confirmation tax liabilities. Although not specifically a “tax
 3
     liability,” Debtor has not paid second or third quarter United States Trustee (“UST”) fees and the
 4
     UST has moved to convert or dismiss Debtor’s case on this basis with a hearing set for November
 5
     7, 2019. See ECF # 762. Debtor has not paid post-confirmation UST fees on the grounds that the
 6
     October 26, 2017 UST fee increase has been found unconstitutional, especially as applied to cases
 7
     pending as of enactment. Debtor’s case was filed October 10, 2017. See In re Buffets, LLC, 597
 8
     B.R. 588 (Bankr. W.D. Tex. 2019); In re Circuit City Stores, Inc., Case No. 08-35653-KRH, 2019
 9
     WL 3202203 (Bankr. E.D. Va. July 15, 2019); In re Life Partners Holdings, Inc., Case No. 15-
10
     40289-mxm-11 (Bankr. N.D. Tex. 2019); contra In re Clinton Nurseries, Inc., Case Nos. 17-31897
11
     (JJT) (Bankr. D. Conn. 2019). Debtor will shortly be filing an adversary proceeding for
12
     declaratory relief to determine the constitutionality of the UST fee increase and recover
13
     approximately $300,000 in excessive fee payments.
14
     3. Debtor’s projections as to its continuing ability to comply with the terms of the plan.
15

16           Debtor projects that it has the continuing ability to comply with the terms of the Plan.

17   4. An estimate of the date for plan consummation and application for final decree.

18           Debtor believes the plan is substantially consummated however entry of a final decree
19   must await resolution of pending adversary proceedings. Debtor estimates applying for a final
20   decree in or about second quarter 2020.
21   5. Any other pertinent information needed to explain the progress toward completion of the
        confirmed plan.
22
             In addition to timely making all distributions required under the plan, the Debtor has
23
     consummated the plan as follows:
24
             1.     The reorganized debtor has taken over management and operation of the estate and
25
     is continuing to operate in the ordinary course of business.
26
             2.     Preconfirmation equity securities have been cancelled and Debtor’s stock has been
27
     delisted.
28


                                                  -2-
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 1          3.      Debtor anticipates completing the auction of surplus Modern VideoFilm, Inc.

 2   property, plant and equipment within the next 30 days.

 3          4.      Debtor is consolidating content services at the Burbank location, which will result

 4   in a headcount reduction as well as increased efficiency. Debtor expects such consolidation to be

 5   completed before year end 2019. In addition the company has been able to significantly reduce its

 6   warehouse and storage space requirements resulting in substantial rent reduction. The company

 7   has also been renegotiating all of its telecommunication contracts to further reduce expenses.

 8          5.      Debtor is making progress in its litigation with Medley Capital Corporation and

 9   Medley Opportunity Fund II, LP (collectively “Medley”) in adversary proceeding 2:19-ap-01129

10   WB. A pretrial conference is scheduled for February 18, 2020.

11          6.      The Court has set a hearing to rule upon the Debtor’s motion for an award of

12   prevailing party attorney’s fees and costs against Medley for October 17, 2019 at 2:00 p.m.

13   Dated: October 3, 2019                               Respectfully submitted,

14                                                        Lewis R. Landau
                                                          Attorney at Law
15

16
                                                          By:/s/ Lewis R. Landau
17                                                        Lewis R. Landau
                                                          Attorney for Debtor
18

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                            EXHIBIT 1
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Point.360
Schedule of Claims and Payments
Updated at 10/3/2019


                                                                  Total Amount Required      Total Amount Required     Total Amount Paid       Remaining Due
        Class #                    Class Description              To be Paid Under Plan      To be Paid at 10/3/2019      at 10/3/2019
           1           Austin Financial Services                             2,475,676.48               2,475,676.48            2,475,676.48                   -


           2           Medley Capital Corporation
                       Medley Opportunity Fund II, LP                        6,572,764.28                        -                       -                     -


           3           Priority Wages, Commissions
                       Salary Claims                                             92,685.13                 92,685.13              92,685.13                    -


           4           United Health Insurance Co
                       Employee Benefit Plan                                  142,152.77                   98,677.36              98,677.36                    -


           5           SAG-AFTRA and SAG-AFTRA
                       Health Fund                                               37,466.75                 20,000.00              20,000.00                    -


           6           General Unsecured Claims                              1,699,695.01                100,000.00              100,000.00                    -


           7           Convenience Class of Unsecured Claims                     52,467.00                 39,368.34              39,368.34                    -


           8           Wilcon Holdings, LLC; Crown Castle Fiber               124,274.69                 124,274.69              124,274.69                    -


           9           Equity Security Holders                                         -                         -                       -                     -


PROFESSIONALS          Lewis R. Landau                                        191,505.55                 191,505.55               30,000.00           161,505.55

                       Brinkman Portillo Ronk, APC                            418,260.76                 418,260.76               52,000.00           366,260.76

                       GlassRatner Advisory & Capital                         250,747.28                 250,747.28               47,500.00           203,247.28

                       Daniel P. Hogan Attorney at Law                            1,470.00                  1,470.00               1,470.00                    -

                       TroyGould, P.C.                                           23,985.16                 23,985.16              20,000.00             3,985.16

                       Clerk’s Office Fees &                                           -                         -                       -                     -
                       Miscellaneous

                       Office of the U.S. Trustee Fees                     TBD                            86,658.43                      -             86,658.43


PRIORITY TAX           Los Angeles County                                     148,219.54                   17,416.00              17,416.00                    -

                       IRS                                                        1,000.00                  1,000.00               1,000.00                    -
                       FTB                                                          800.00                    800.00                 800.00                    -
                       County of Orange                                           1,802.80                  1,802.80               1,802.80                    -


LEASE ASSUMPTIONS      Leafs Properties, LP                                   152,461.60                 152,461.60              152,461.60                    -

                       HWAY, LLC                                              803,926.13                         -                       -                     -

                       Toyota Lease Trust                                         5,435.92                  5,435.92               5,435.92                    -

                       De Lage Landen Financial                                   8,972.05                  8,972.05               8,972.05                    -

                       Jules & Associates                                        34,558.00                 34,558.00              34,558.00                    -

                       Wells Fargo                                                13064.93                13,064.93               13,064.93                    -
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    22287 Mulholland Hwy., # 318
    Calabasas, CA 91302
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Debtor's Postconfirmation Status Report
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
10/03/2019          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              10/03/2019        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Judge Brand, US Bankruptcy Court, 255 E Temple Street, Suite 1382, Los Angeles, CA 90012




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/03/2019         Lewis R. Landau                                                             /s/ Lewis R. Landau
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Ponit.360 NEF Service List:

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David E Ahdoot on behalf of Creditor SAG-AFTRA dahdoot@bushgottlieb.com, kireland@bushgottlieb.com
David E Ahdoot on behalf of Creditor SAG-AFTRA Health Fund dahdoot@bushgottlieb.com, kireland@bushgottlieb.com
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Ron Bender on behalf of Interested Party Courtesy NEF rb@lnbyb.com
Ron Bender on behalf of Interested Party Visual Data Media Services, Inc. rb@lnbyb.com
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karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
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Lewis R Landau on behalf of Plaintiff Committee of Creditors Holding Unsecured Claims Lew@Landaunet.com
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Justin E Rawlins on behalf of Creditor Medley Opportunity Fund II LP jrawlins@winston.com, ecf_la@winston.com;justin-rawlins-0284@ecf.pacerpro.com
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